

People v Sainkitts (2023 NY Slip Op 00934)





People v Sainkitts


2023 NY Slip Op 00934


Decided on February 16, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 16, 2023

Before: Renwick, J.P., Oing, Mendez, Rodriguez, Pitt-Burke, JJ. 


Ind No. 4432/18 5097/15 SCI No. 744/17 Appeal No. 17344 Case No. 2019-3861 2019-2569 

[*1]The People of the State of New York, Respondent,
vRoberto Sainkitts, Defendant-Appellant. 


Justine Luongo, The Legal Aid Society, New York (Robin Richardson of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Samuel Z. Goldfine of counsel), for respondent.



Judgment, Supreme Court, New York County (Melissa C. Jackson and Patricia M. NuÑez, JJ. at pleas; Guy H. Mitchell, J. at sentencing), rendered February 7, 2019, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance in the third degree and criminal possession of a controlled substance in the third degree, and sentencing him to an term of five years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of directing that the sentences be served concurrently, resulting in a new aggregate term of three years, and otherwise affirmed. Judgment, same court (Felicia A. Mennin, J.), rendered March 12, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree, and sentencing him to a concurrent term of three years, unanimously affirmed.
We find the sentence excessive to the extent indicated. The record does not establish a valid appeal waiver.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 16, 2023








